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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA


          -v-
                                                                 No. 17-cr-377 (RJS)
                                                                      ORDER
 DARNELL FEAGINS,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         On October 7, 2020, Supervisee Darnell Feagins was presented before Magistrate Judge

Gorenstein on several specified violations of the terms of his supervised release. (Doc. No. 39.)

In light of the fact that the conduct underlying Feagins’s alleged violation of supervised release is

also the subject of a new criminal indictment pending before Judge Pauley, United States v.

Darnell Feagins, 20-cr-218 (WHP) (S.D.N.Y.) (Doc. No. 43), the Court will hold Feagins’s

revocation proceedings in abeyance until the pending criminal matter is resolved. Accordingly,

IT IS HEREBY ORDERED THAT the government shall submit a letter to the Court by

December 28, 2020, and every 60 days thereafter, apprising the Court of the developments in case

20-cr-218.

SO ORDERED.

Dated:          October 27, 2020
                New York, New York


                                                      RICHARD J. SULLIVAN
                                                      UNITED STATES CIRCUIT JUDGE
                                                      Sitting by Designation
